

People v Rodriguez (2023 NY Slip Op 02286)





People v Rodriguez


2023 NY Slip Op 02286


Decided on May 02, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 02, 2023

Before: Kern, J.P., Oing, Kennedy, Shulman, Higgitt, JJ. 


Ind Nos. 845/19, 1162/19 Appeal No. 142 Case No. 2020-2319 

[*1]The People of The State of New York, Respondent,
vAlberto Rodriguez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Mariel R. Stein of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jennifer Covais of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Erika Edwards, J.), rendered December 05, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 2, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








